CaSe 5215-CV-10786-.]CO-|\/|K|\/| ECF NO. 1 filed 03/04/15 Page|D.l

UNITED STATES DISTRICT COURT
IN THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JAMES CROSBY,
Case No.
Plaintiff,
v.

EQUIFAX INFORMATION SERVICES,
LLC, a Georgia corporation, and CREDIT
ACCEPTANCE CORPORATION, a
Michigan corporation,

Page 1 of 19

 

Defendants.
Gary D. Nitzkin (P41155) Stephen W. King (P56456)
NrrzKrN & AssoclA'rEs KING AND MURRAY, PLLC
22142 W. Nine Mile Road 355 S. Old Woodward, Suite 100
Southfleld, Michigan 48033 Birmingham, Michigan 48009
gnjtzkin@creditor-law.com sking@kingandmurray.com
(248) 353-2882 Tel: (248) 792-2398
Attomeys for Plaintij".fames Attorneysfor Defendant
Crosby Credz't Accep tance Corporation

 

NOTI_QE OF REMOVA_L

Defendant Credit Acceptance Corporation (“Credit Acceptance”), by

counsel, and pursuant to 28 U.S.C. §§ 1441 and 1446, hereby removes the above-

entitled action, which is currently pending in the 38th District Court, Macomb

County, Michigan, and states as follows:

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MMI
l. On January 20, 2014, Plaintiff James Crosby (“Plaintiff’) commenced

an action against Credit Acceptance in the 38th District Court, Macomb County,
Michigan, by filing a Complaint and Jury Demand (“Complaint”), alleging that
Credit Acceptance negligently and Willfully violated the Fair Credit Reporting Act,
15 U.S.C. § 1681, et seq. (“FCRA”). A copy of Plaintiff’s Complaint is attached as
Exhjbit A.
2. Credit Acceptance Was purportedly served With a copy of the
Complaint on February 4, 2015.
3. The Complaint constitutes “all process, pleadings and orders served
upon” Credit Acceptance in this action to date. 28 U.S.C. § 1446(a).
Tim§§ness of Rem_gval
4. Credit Acceptance received notice of this action through the purported
service of the Complaint on February 4, 2015. Therefore, this notice of removal is
timely under 28 U.S.C. § 1446(b) because less than 30 days have passed since
Credit Acceptance Was served With Plaintist Complaint
Removal Jurisdiction
5. This action is properly removable under 28 U.S.C. § 1441 because
this Court has original jurisdiction of this case under 28 U.S.C. § 1331, Which

provides in pertinent part: “The district courts shall have original jurisdiction of all

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civil actions arising under the Constitution, laws, or treaties of the United States.”
28 U.S.C. § 1331.

6. Specifically, Plaintiff alleges that Credit Acceptance violated the
FCRA because it negligently and willfully (a) “failed to conduct a proper
reinvestigation of Mr. Crosby’s dispute as required by 15 USC l6813-2(b)” and (b)
“failed to review all relevant information available to it and provided by Equifax in
conducting its reinvestigation as required by 15 USC l681s-2(b).” See Exhibit A,
paragraphs 14, 15, 2l, and 22.

7 . Accordingly, this is a civil action “arising under the Constitution,
laws, or treaties of the United States” pursuant to 28 U.S.C. § 1331, and removal is
appropriate pursuant to 28 U.S.C. §§ 1441, 1446.

8. Removal to this Court is proper as the United States District Court for
the Eastern District of Michigan embraces Macomb County, Michigan, where the
state court action was iiled.

Notice to State Court and Plaintiff

9. Pursuant to 28 U.S.C. § 1446(d), Credit Acceptance is promptly
providing written notice of this removal to Plaintiff and will immediately file a
copy of this Notice of Removal with the Clerk of the 3)8th District Court, Macomb

County, Michigan.

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Consent
10. Defendant Equifax Information Services, LLC Was purportedly served
on February 5, 2015, and consents to removal of this action to the United States
District Court for the Eastern District of Michigan. See Exhibit B.
WHEREFORE, Defendant Credit Acceptance Corporation respectfully
requests that the above-entitled action be removed from the 38th District Court,

Macomb County, Michigan, to this Court.

KJNG AND MURRAY PLLC

By: s/Stephen W. King_
Stephen W. King (P56456)
KING AND MURRAY, PLLC
355 South Old Woodward, Suite 100
Birmingham, Michigan 48009
Tel: (248) 792-2398
sking@kingandmurray.com

Attorneys for Defendant Credit
Acceptance Corporation
Dated: March 4, 2015

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CERTIFICATE OF SERVICE

Stephen W. King, an attorney, certifies that on March 4, 2015, he
electronically filed the foregoing Notice of Removal with the Clerk of the Court
using the CM/ECF system and served a copy of same via First Class Mail, proper
postage prepaid, on the individual listed below:

Gary D. Nitzkin, Esq.
22142 W. Nine Mile Road
Southfield, Ml 48033

/s/ Stephen W. King

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EXH|B|T

A

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sTATE oF MICHIGAN
1N THE 38“' DIsTRICT coURT
JAMEs cRosBY,
Plainiiir,
V.

EQUIFAX IN'FORMATION SERVICES, LLC,

 

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§§ ¢_=-"~_' :!J
a Georgia corporation, and §r-;{ § m
cREDrr ACCEPTANCE coRPoRATIoN, ;,T, c m 0
a Michigan corporation, §‘f" C’ m
Defendams. §§ § <
l §§ "_:_“l m
GARY r). NITZKrN (P41155) §§ m "`-'~’
'I'RAVIS` `SHACKE'LFOFED (P68`710`)` §=*= ~°" `
NITZKIN & ASSOCIATES
Attomeys for Plaintiff
22142 West Nine .Mile Road
Southfleld, MI 48_033
(248) 353-2382
Fax (248) 353-4840
Email - gni@'g@creditor-law.com
l

 

COMPLAINT AND JURY DEMAND

NOW COMES THE PLAINTIFF, JAMES CROSBY, THROUGH COUNSEL,

NIT_ZKI_N AND ASSOCIATES, BY GARY D. NITZKIN, and 'for his Complaint against the
'Deferida`hts, plead as follows:

VENUE

l.. '_,i:l_'lre transactions and occurrences which give rise to this action occurred in the City of
Easipointe, in Macomb County, Michigan.
2.' Venue is proper in the 38"‘ District Court in Macomb County, Michigan as the actions

and occurrences recited herein occurred in the City of Eastpointe, Macomb County,
_ Michigan. n

ii

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3. The amount in controversy is less than twenty five thousand dollars ($2_5,000.00)

exclusive of costs, interest and attorney’s fees.

PARTIES

4. The Defendant.s to this lawsuit are:
a. Equifax lnfonnation Services, LLC (“Equifax”) which is a Georgia company that
maintains a registered agent in lngham County; and
b. Credit Acceptance Corporation (“Credit Acceptance”) which is a Delaware

corporation that maintains a registered agent in Ingham County, Michigan.

GENERAL ALLEGATIONS

5. Defendant Equifax is reporting a trade line with account number 4416*-*** (“Bogus
Trade Line”} placed on his consumer credit tile by Defendant Credit Acceptancel

6. This Bogus 'I`rade Line does not belong to Mr. Crosby as he is the victim of identity thefc.

7. On or about January 13, 2014, Mr. Crosby obtained his Equifax credit report and noticed
the Bogus Trade Line. Mr. Crosby called Credit Acceptance to see why it was reporting
this trade line as he had never done any business with it The representatives he spoke
told him that the Bogus Trade Line related to an account in his name. Mr. Crosby told the
representative that he never owned a car.

8. Sometime in November 2014, Mr. Crosby attempted to file a police report with the-=
Eastpoint_e Police Department. The police officer that he spoke with advised him that he
needed to tile a police report in Southfield since that is where Credit Acceptance is
located.

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9. ln November 20_14, Mr. Crosby attempted to file a police report with the Southlield
Police Department and the police officer advised him that he had to file the report in the
city where the vehicle was purchased

10. On or about November 12, 2014, Mr. Crosby filled out an Identity Thefc Atlidavit
regarding the Bogus Trade Line and submitted it along with a dispute letter to Defendant
Equifax.

11- ripen alienation ana benef, Derendeei revise transmitted Mr. creeby's consumer
dispute to Credit Acceptance.

1=2. On or about Januar'y 12, 2015, Mr. Crosby obtained his Equifax credit report which
showed that it had retained the 'Bogus Trade Line.

COUNT I

NEGLIGENT VIOLATION OF THE FAIR CREDIT REPOR'I`]NG AC'I`
BY CREDIT ACCEPTANCE

13. i‘l`ainti&`realleges the above paragraphs as if recited verbatim.

14. ARe"i' being informed by Equifax of Mr. Crosby’s consumer dispute to the Bdgus`l”l"r"`ade
l:.in'é","'Credit Acceptance negligently failed to conduct a proper reinvestigation oer.

' cresby’e dispute as required by 15 usc resis-z(b). '- lt

15. Credit Acceptance negligently failed to review all relevant information available to'it and
provided by Equifax in conducting its reinvestigation as required by 15 USC 1681s-2(b).
speeiseeny, ii failed re direet.squifex_ re move are negue Trade Line. .- -»

16. The Bogus Trade Line is inaccurate and creating a misleading impression on Mr.' "' ’-"

=. ;=_ Crosby’s consumer credit tile with Equifax to which it is reporting such trade line.

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1_7. As a direct and proximate cause of Credit Acceptance’s negligent failure to perform its
duties under the FCRA, Mr. Crosby has suffered damages, mental anguish, suffering,
humiliation and embarrassment

18. Credit Acceptance is liable to Mr. Crosby by reason of its violations of the FCRA in an
amount to be determined by the trier fact together with reasonable attorneys’ fees
pursuant to 15 USC 16810.'

19. Mr. Crosby has a private right of action to assert claims against Credit Acceptance arising
under 15 USC 1681 s-2(b).

WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against the
Defendant Credit Acceptance for darnages, costs, interest and attorneys’ fees in the amount of
less than twenty five thousand dollars ($25,000.00) exclusive of costs, interest and attorney’s
fees.

COUNT II

WILLFUL VIOLATION OF THE FAIR CREDIT REPORTING ACT
BY CREDIT ACCEPTANCE

20. Plaintif.’t` realleges the above paragraphs as if recited verbatim.

21. After being informed by Equifax that Mr. Crosby disputed the accuracy of the
information it was providing, Credit Acceptance willfully failed to conduct a proper
reinvestigation of Mr. Crosby’s dispute.

22. Credit Acceptance willfully failed to review all relevant information available to it and

provided by squires es required by 15 usc 1631e-2(b).

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23. As a direct and proximate cause of Credit Acceptance’s willful failure to perform its
respective duties under the FCRA, Mr. Crosby has suffered damages, mental anguish,
suffering, humiliation and embarrassment

24. Credit Acceptance is liable to Mr. Crosby for either statutory damages or actual damages
he has sustained by reason of its violations ofthe FCRA in an amount to be determined
by the trier fact, together with an'award cf punitive damages in the amo\mt to be
determined by the trier of fact, as well as for reasonable attorneys’ fees and he may
recovef therefdré'pursiiarit`t`o"l'§"l]$'"(`f`l€`Sl"n`." " "

WHEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against
Credit Acceptance for the greater of statutory or actual damages, plus punitive damages, along

with‘_costs,-interest and attorneys’ fees in the amount of less than twenty five thousand dallaxs_=

($25,000.00) exclusive ofcosts, interest and attorney’s fees. :.~i'§ -t:--..-f
COUNT III :' itt may
v_NEGI_'.IGENT VIOLATION OF THE FAIR CREDIT REPORTING ACT
BY EQUIFAX
25. Bla'ilititi`:' realleges the above paragraphs as if recited verbatim ~ ..1_;. .-:e_r-_;;.zi';~:-gi

r.~26. Defe_ndant.Equifax prepared, compiled, issued, assembled, tr'ansferred, published ahdi;;_
-.ii=-.' d=;_'=otherwise reproduced consumer reports regarding Mr. Crosby as that term is.-dbiil_l”¢.€lti{_l
:_ ;. iiiiil-S_" l-US.C 1681a. -:».= :;ii-:~..~.-\:i.

27. Such reports contained information about Mr. Crosby that was false, misleading and

inaccurate. ";i .i‘:.',' '='

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28. Equifax negligently failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information it reported to one or more third parties
pertaining to Mr. Crosby, in violation of 15 USC 1681e(b).

29. After receiving Mr. Crosby’s consumer dispute to the Bogus Trade Line, Equifax
negligently failed to conduct a reasonable reinvestigation as required by 15 U.S.C. l681i.

30. As a direct and proximate cause of Equifax’s negligent failure to perform its duties under
the FCRA, Mr. Crosby has suii`ered actual damages, mental anguish and su&`ering,
humiliation and embarrassment

31 . Equifax is liable -to Mr. Crosby by reason of its violation of the FCRA in an amount to dbe
determined by the trier fact together with his reasonable attorneys’ fees pursuant to 15

USC 16810.

WI-IEREFORE, PLAINTIFF PRAYS that this court grant him a judgment against
Equifax for-actual damages, costs, interest and attomeys’ fees in the amount of less than twenty

five thousand dollars ($25,000.00) exclusive of costs, interest and attorney’s fees.

COUNT IV
WILLFUL VIOLATION OF THE F'AIR CREDIT REPORTING ACT
BY EQUIFAX
32. Plaintiff realleges the above paragraphs as if recited verbatim.
33. Defendant Equifax prepared, compiled, issued, assembled, transferred, published and
= ~otherwise reproduced consumer reports regarding Mr. Crosby as that term is-defined_ in

af-. 15 USC 1681a

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34. Such reports contained information about Mr. Crosby that was false, misleading and
inaccurate
35. Equifax willfully failed to maintain and/or follow reasonable procedures to assure
maximum possible accuracy of the information that it reported to one or more third
parties pertaining to Mr. Crosby, in violation of 15 USC 1681e(b).
36. After receiving Mr. Crosby’s consumer dispute to the Bogus Trade Line, Equifax
winaiuy audio conduct a reasonable reinvesagaaon as required by 15 u.s_.c. lesli.
37. As a direct and proximate cause`of Equifax’s willful failure to perform its duties under
»‘-4_ me_FCM:M. Crosby has .si.rffeied actual damages, mental anguish and sumng;=;;
humiliation and embarrassment
38. Equifax is liable to Mr. Crosby by‘reason. of its violations of the FCRA-in\m~§rtm\mf 110
be determined by the trier of fact together with his reasonable attorneys? fees_pnrsuant to
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.St`.~. .-‘-.f`ia'l' i'-\:\'-.'.§' - 5 ".§-¢~.:.. E~.:;t;il`a:<
' WHEREFORE,-PLAIN'I‘IFF PRAYS that this court grant him ajudg'iiie`rtt againstl i.
Defe'ridadt Equifax for the greater of statutory or actual damages, plus punitive damages along
with'costs; interest_and reasonable attorneys’ fees in the amount of less than .tvirenty live thousand

dollars {$25,-000.00) exclusive of costs, interest and attomey’s fees.
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'-;\a-_=_=-l\:~a.=':'.=.:i-".-. f JURY DEMAND " ' ’?-.‘f»"i'~'i“tzs\~‘imt !_n

Blaintiff hereby demands a trial by Jury.

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Janusry 15, 2015

Respectii.\lly submitted,

‘/"\7 /{///c_,_

GARY b. Nn‘z.KMi> zKMi>mss)
TRAVIS sHAcKELFoRD (Pssvlo)
NITZKIN a AssocIATEs
Attorneys for Plaintitf

22142 West Nine Mile Rssd
southaeld, m 43033

(243) 353-2832

Fax (248) 353-4840

Email-M@MM

C_ase 5:15-0v-10786-.]CO-l\/|Kl\/| ECF No. 1 filed 03/04/15 PagelD.15 Page 15 of 19

 

 

 

 

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Approved, SCAO tstgcopy - D:fendant §ilcl!c.b°|i;i- li:e|l\iriiiff
_f SUTE OF MlCHIGAN , CASE NO. ~
38th JuDlClAL otsTRlcT _ l
_,umcm_ c,Rcu,, summons ANo couPLAiN'r. 1 § . |5 ),, C?C’ l
COUNTY PROBATE -
Eourt address Court telephone no.

16101 Nioe Mile Rd., Eastpointe, MI 48021 . '

(586) 445-5020

 

 

 

 

 

Plairliifl'$ name($l. add\’€§lesl. and telephone nol$l- Defendant's name(s), address[es), and telephone no(s).
.lames Cr_osby . v Equifax Information Services, LLC ¢_,.

c/o Michlgan Consumer Credit Lawyers - CSC-Lawyers incorporating Servyg.g§y.]n¢_?.§' jo
22142 West Nine Mile Rd. - East Lansing, MI 48823 ‘_3_°,\--\ """
southaeid, m 48033 ':r.?"ii ‘i¢‘»'- m
Pl ' “J>c:~ "° t‘f\

almitl’s attorney\ bar no.. address. and telephone ne. __,\-n C> _.,..

cary D. Nitzkin (P41155)_ 333 ,,, vi
Nitzkin and Associates 222 25 \`T\
22142 W. Nine Mile Road n §§ -;;‘ E.‘J
Southtield, Ml 48033 Cc_.?._-`N. ¢_n
248-353-2882 aug ga

 

 

 

 

Notice ro THE oEFENoANT: in the name ofthe people anne state er Michigan you are notified
1. You are being sued.
2. YOU HAVE 21 DA¥S after receiving this summons to file a written answer with the court and serve a copy on the other party
ortake other lawful action with the court(28 days ifyou were served by mail oryouwere served outside this state). (McR2.111[c])

3. Ityou do not answer or take other action within the time allowed, judgment may be entered against you for the relief demanded
in the complaintl

. ' --r-~H
issued l 2 o 5 This sumn'E} exD 15 Court clerk JQ/)
*This summons is invalid unless served on or before its expiration date.
This document must be sealed by the seal of the court.
COMPLA|NT lnstruction: The following is information thatis required to he in thecaptl'on ofeverycomplaint and is to be completed

by the plainde Actual allegations and the claim for relief must be stated on additional complaint pages and attached to this form.

Family Division Caees

E There is no otherpending or resolved action withinthejurisdiction ofthe family division ofcircuitcourt involving the family orfamily
members of the partles.

l:| An action within thejurisdiction of the family divisi

 

 

 

 

 

 

on ofthe circuit court involving the family or family members of th

 

 

e parties has
been previous|yfiled in Court_
The action ij remains |:l is no longer pending. The docket number and the judge assigned to the action are:
Docket no. l Judge Bar no.

 

 

 

 

General Civil Cases

[] There is no other pending or resolved civil action arising out of the same transaction or occurrence as alleged in the complaint

l:| A civil action between these parties or other parties arising out of the transaction or occurrence alleged in the complaint has
been previously filed in

Courl.
The action |:] remains |:] is no longer pending. The docket number and the judge assigned to the action are:

Docket no. Judge

 

Bar no.

 

 

l VENUE l

Plaintiff(s) residence linc|ude city, township, or village) Defendant(s) residence (include city, township, or village)
Eastpointe, Ml

sing, Mic]u
Place where action arose or business conducted
Eastpointe, Michigan .

‘-____

 

 

 

 

 

/M

 

01/15/2015
Date

Siniature attorneylplaintitf
lfyou require special accommodationsto use the court because of a disability W ` a foreign language interpreterto help

you fully participate in court proceedings, please contact the court immediately to make arrangements
Mc 01 (sioa) SUMMONS AND COMPLA|NT MCR 2.102(\3)(11), Mth 2.104, Mc`R 2.105, MCR 2_107, Mca 2.113(0)¢2}(3), (b). MCR a.zosiA)

 

 

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J» *r,,
' i,

 

SUMMONS AND COMPLA|NT
PROOF OF SERVICE CaSe NO.

TO PROCESS SERVER: You are to serve the summons and complaint not later than 91 days from the date of filing or the date
of expiration on the orderfor second summons You must make and file your retum with the court clerk. lfyou are unab|eto complete
service you must return this original and all copies to the court clerk.

CERTIFICATE l AFF|DAV|T OF SERV|CEI NONSERVICE

 

 

 

 

 

 

 

 

 

 

 

 

I:] OFFICER CERT|F|CATE OR l:l AFF|DAV|T OF PROCESS SERVER

| certify that | am a sheriff, deputy sheriff, bailiff, appointed Being tirst duly sworn, l state that l am a legally competent
court ofticer, or attorney fora party (MCR 2.104[A][2]}, and adultwho is note party oran ofticerofa corporate partyl and
that tnotarlzation not required) that (notarizellon required)

 

 

ij l served personally a copy of the summons and complaint,
|:l l served by registered or certified mail (copy of return receipt attached) a copy of the summons and complainta
togetherwith

 

Llst all documents served with the Surnn'rons and Complaint

 

 

on the defendant(s):

 

Defendant's name Complete address(es) of service Day, date, time

 

 

 

 

 

 

 

l:l l have personally attempted to serve the summons and complaint, togetherwith any attachments on the following defendant(s}
and have been unable to complete service.

 

Defendant‘s name Comp|ete address(es) of service Day. date. time

 

 

 

 

 

 

 

l declare that the statements above are true to the best of my information, knowledge, and belief.

 

 

 

 

 

 

 

 

 

 

 

Service fee Miles traveled Mileage fee Total fee Slgnature
$ $ $ Name (type or print)
Tltle
Subscribed and swoth before me on , County, Michigan.
Date
My commission expires: Signature:
Date Deputy court clerkiNotary public

 

 

Notary public, State of Michigan1 County cf

 

 

 

ACKNOWLEDGMENT OF SERV|CE

l acknowledge that l have received service of the summons and complaintl together with

 

 

 

Attachments

an
Dayl dete, time

on behalf of

 

 

 

Signature

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EXH|B|T

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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

 

JAMES CROSBY, Civil Action No.:
Plaintiff,
Judge
v_ Magistrate Judge
EQUIFAX INFORMATION

SERVICES, LLC, and CREBIT
ACCEPTANCE CORPORATION,

Defendants.

 

DEFENDANT EQUIFAX INFORMATION SERVICES LLC’S
CONSEN'I` TO REMOVAL

Without waiving any of its defenses or any other rights, Det`endant Equifax
lnfonnation Services LLC hereby consents to the removal of this action item the
38th District Court, Michigan, wherein it is now pending, to the United States

District Court for the Eastern District of Michigan.

Authorized Represenrativefor Equifax
Informatz'on Services LLC

perez 2/2 s/za/$ M of 7%¢~/"¢",€;~.“¢,/
Tameilca Montgomery, Esq. /
King & Spalding LLP

1180 Peachtree Strcet, NE

Case 5:15-0v-10786-.]CO-l\/|Kl\/| ECF No. 1 filed 03/04/15 PagelD.19 Page 19 of 19

Atlanta, Georgia 30309-3521
Telephone: (404) 215-5957
Email: gnontgomery@kslaw.com

Counsel for Equifax Information
Services LLC

